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5
                         IN THE UNITED STATES DISTRICT COURT
6
                              FOR THE DISTRICT OF ARIZONA
7

8    UNITED STATES OF AMERICA, )
                                  )                18-MJ-03091-TUC (EJM)
9              Plaintiff,         )
                                  )
10
      vs.                         )             REQUEST FOR RECONSIDERATION
                                  )             AND APPEAL FROM MAGISTRATE
11
     JOSHUA JOEL PRATCHARD,       )             MARKOVICH’S ORDER DETAINING
12                                )             JOSHUA PRATCHARD
               Defendant.         )
13   ____________________________ )

14          Joshua Pratchard, through counsel, appeals the Order of Detention issued in the

15   above-captioned matter on June 18, 2018 by Magistrate Judge Eric J. Markovich pursuant
16   to the 8th Amendment to the United States Constitution and the provisions of the Bail
17
     Reform Act, 18 U.S.C § 3142.        This appeal is supported by the accompanying
18
     Memorandum of Points and Authorities.
19
            RESPECTFULLY SUBMITTED this _26th _ day of June, 2018.
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                                                By_s/ Dan H. Cooper
21                                                Dan H. Cooper
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1                      MEMORANDUM OF POINTS OF AUTHORITY
2
     INTRODUCTION
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            Joshua Pratchard was arrested on June 1, 2018 and charged with possession of a
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     firearm by a convicted felon, in violation of 18 U.S.C § 922 (g)(1) and 924 (a)(2) and the

6    unlicensed sale and transfer of a firearm in violation of 18 U.S.C § 922 (a)(5). At Mr.

7    Pratchard’s initial appearance on June 4, 2018 the government requested a dangerousness

8    hearing to move that no release condition could ensure the safety of the community. That

9    hearing was held on June 8, 2018. There was no presumption of detention. However,
10
     Judge Markovich found that Mr. Pratchard is a danger to the community and no
11
     conditions of release can ensure the safety of the community.
12
     FACTS
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            One witness testified at the dangerousness hearing, FBI agent Ryan McGee. The
14
     facts upon which Magistrate Judge Markovich based his decision are as follows:
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        1. Mr. Pratchard was court martialed under the Uniform Code of Military Justice in
17
            2001. He was convicted of four drug offenses and sentenced to three years
18
            imprisonment.
19
        2. In 2009 Mr. Pratchard was convicted of felony assault in the United States
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            District Court for Northern California and was sentenced to three years probation.
21
        3. In 2014 Mr. Pratchard was arrested on a domestic violence involving his wife,
22
            Melissa.   The charge was dismissed.       Joshua and Melissa Pratchard remain
23
            married. There were no injuries in the case.
24
        4. Mr. Pratchard submitted an online, public application to a militia group called
25
            Arizona Border Recon. Agent McGee investigates such militias. A confidential



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1           informant working with the FBI provided information about Mr. Pratchard, guns
2           he owned, and his overall demeanor.             The informant provided      extensive
3           information about      conversations       he     had with Mr. Pratchard.      Those
4           conversations included discussions about the manufacture of guns, rip crews at
5           the border, and border surveillance. For reasons that are disputed, Mr. Pratchard
6           did not join the militia and attended only one “operation.” McGee testified that
7           based on the conversations with the informant, Mr. Pratchard was willing to sell
8           weapons. No sale was consummated.
9       5. Firearms were located in Mr. Pratchard’s home following his arrest as well as
10          ammunition, black powder and a reloading press. These weapons are, in part, the
11          subject of the felon in possession charge.
12      6. Mr. Pratchard was out and about (“under investigation”) in San Diego from his
13          initial meeting with the informant in April until his arrest on June 1.
14
     LAW
15
            The decision to support a finding that no condition or combination of conditions
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     will reasonably ensure the safety of the community must be supported by clear and
17
     convincing evidence. 18 U.S.C § 3142 (f); United States v. Gebro, 948 F. 2d 1118, 1121
18
     (9th Cir. 1991). Clear and convincing evidence means proof that a particular defendant
19
     actually poses a danger to the community not that the defendant in theory poses a danger.
20
     United States v. Patriarca, 948 F 2d 789 (1st Cir. 1991).
21

22          The possession of the guns alone should not constitute clear and convincing

23   evidence of danger. United States v. Jeffries, 679 F. Supp. 1114 (M.D. Ga. 1988). And

24   the danger of recidivism is “probably not” the type of danger to the community which

25   will support detention. United States v. Himler, 797 F.2d 156 (3d Cir. 1986). In fact,



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1    simply being charged with a crime of violence will not satisfy the clear and convincing
2    standard. United States v. Chimurenga, 760 F.2d 400 (2d Cir. 1985).
3
            Only in rare circumstances should a person arrested for a non-capital offense be
4
     denied bail. Unites States v. Motamedi, 767 F.2d 1403 (9th Cir. 1985). The law mandates
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     that detention is appropriate only if “no condition or combination of conditions” will
6
     reasonably assure the appearance of the person and the safety of the community. 18
7
     U.S.C § 3142 (e).
8
     ARGUMENT
9
            The Magistrate Judges decision to detain Mr. Pratchard was wrong. It was based,
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11   in substantial part, on his prior felony convictions. The convictions were seventeen and

12   nine years ago respectively. The Magistrate Judge also considered the dismissed charge

13   of domestic violence from 2014. There was no injury in that case, no conviction and, as

14   the court knew, the alleged “victim” remains married to Mr. Pratchard and was sitting in
15   the courtroom throughout the dangerousness hearing. The prior convictions (and prior
16
     allegations) in no way support a clear and convincing conclusion that Mr. Pratchard is
17
     dangerous. Patriarca, supra.
18
            Furthermore, the Magistrate Judge based his decision on the possession of
19
     firearms, which are elements of the charged offense, which in no way support
20
     dangerousness. Jeffries, supra. The possession of the guns upon arrest does not support
21
     clear and convincing evidence of danger.
22

23
            The law mandates that there must be no condition, or combination of conditions,

24   that will reasonably assure the safety of the community. 18 U.S.C § 3142 (e). In fact,

25   multiple such conditions exist from home arrest to electronic monitoring to third-party




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1    custodians (including Pre-Trial Services). The Magistrate Judge’s decision ignores such
2    options and based his finding of dangerousness on erroneous factors. Being charged with
3
     a crime of violence does not even satisfy the clear and convincing standard and the
4
     charges Joshua Pratchard faces are not dangerous. The Magistrate Judge’s decision is
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     contrary to the facts and the law and should be overturned.
6
            RESPECTFULLY SUBMITTED this _26th _ day of June, 2018.
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                                                  By_s/ Dan H. Cooper
8                                                   Dan H. Cooper
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